Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 1 of 20




                                                                          AT

                                                                 Oct 17, 2024

                                                                            FTL
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 2 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 3 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 4 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 5 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 6 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 7 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 8 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 9 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 10 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 11 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 12 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 13 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 14 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 15 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 16 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 17 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 18 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 19 of 20
Case 0:24-cr-60204-MD Document 1 Entered on FLSD Docket 10/17/2024 Page 20 of 20
